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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                         )
COMMITTEE ON THE JUDICIARY,              )
UNITED STATES HOUSE OF                   )
REPRESENTATIVES,                         )
                                         )
               Plaintiff,                )
                                         )
               v.                        )      Civ. No. 19-cv-2379 (KBJ)
                                         )
DONALD F. MCGAHN II,                     )
                                         )
               Defendant.                )
                                         )


                                        ORDER

       For the reasons stated in the Memorandum Opinion that accompanies this Order,

it is hereby

       ORDERED that Plaintiff’s Motion for Expedited Partial Summary Judgment

(ECF No. 22) is GRANTED, and Defendant’s Motion for Summary Judgment (ECF

NO. 32) is DENIED. Accordingly, it is

       DECLARED that Donald F. McGahn II is not immune from compelled

congressional process, and that he had no lawful basis for refusing to appear for

testimony pursuant to the duly issued subpoena issued to him by the Committee on the

Judiciary of the United States House of Representatives on April 22, 2019. Mr.

McGahn’s failure to appear was without legal justification. Therefore, it is
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      FURTHER ORDERED that, because Mr. McGahn is legally required to testify,

Mr. McGahn is ENJOINED to appear before the Committee pursuant to the subpoena

that was issued to him on April 22, 2019.



DATE: November 25, 2019                 Ketanji Brown Jackson
                                        KETANJI BROWN JACKSON
                                        United States District Judge




                                            2
